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Affidavit of Process Server
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS

Case Number: 1:25-CV-11446-ADB
Case Name: Metrom Rail, LLC vs Massachusetts Bay Transportation Authority, et al.

| Christopher | Whitcomb, declare that | am over the age of 18 years and not a part to this action, and that within the boundries of
the state where service was effected, | was authorized by law to perform said service.

Party Served: Piper Networks, Inc.

ATTN: Ally Alvarez, CA Corp Agents - Agent for Service of Process

Date Served: 5/29/2025 Time of Service: 12:00 PM

Documents Served: Summons; Complaint; Exhibit A-1, Plaintiffs Rule 7.1 Disclosure Statement; Motion for Leave to
Appear Pro Hac Vice of Attorney Gregory C, Schodde; Certificate of Attorney Gregory C. Schodde; Motion for Leave to
Appear Pro Hac Vice of Attorney Christian H. Hallerud;: Certificate of Attorney Christian H. Hallerud; Motion for Leave to
Appear Pro Hac Vice of Attorney Rajendra A. Chiplunkar; Certificate of Attorney Rajendra A. Chiplunkar; Notice of

Appearance of Counsel Gregory C. Schodde; Notice of Appearance of Counsel Christian H. Hallerud; Notice of
Appearance of Counsel Rajendra A. Chiplunkar

Served at Place of Business: 2108 N. Street, Ste C, Sacramento, CA 95816
Manner of Service:
[V/ PERSONAL SERVICE: By personally delivering copies to the person being served.

Cl SUBSTITUTED SERVICE AT RESIDENCE: By personally delivering copies to the dwelling house orusual place of abode of
the person (or authorized person on behalf of an entity) being served. Person receiving documents must be at least 18 years of
age and should be informed of the general nature of the papers.

Ol SUBSTITUTED SERVICE AT BUSINESS: By leaving, during normal business hours, copies at the office of the person/entity
being served with the person apparently in charge thereof.

CJ POSTING: By posting copies in a conspicuous manner to the front door of the person/entity being served.

C Non-Service: After due search, careful inquiry and diligent attempts at the address(es) listed above, | have been unable to
effect process upon the person/entity being served because of the following reason(s):

CO Unknown at Address Moved, Leftne Forwarding Service Cancelled by Litigant Unable te serve in a Timely Fashion
Address Does Not Exist Other:

>

SIGNATURE OF PROCESS SERVER

Order#: 299288/Napps2010

Orden: 2992B8/NAPPS2010
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LP-SUM05272025a0s
AFFIDAVIT OF SERVICE

SUFFOLK, SS Boston, MA May 31, 2025

I, Derrick Hughes, a licensed Constable in the City of Boston, Process Server (A
Disinterested Party) outside the City of Boston, Notary Public in the State of
Massachtisetts hereby affirm on May 29, 2025, at approximately 4:19pm.
Massachusetts Department of Transportation 10 Park Plaza, Suite 3510 Boston,
MA 02116, an attempt to-serve a SUMMONS & COMPLAINT: NOTICE OF
APPEARANCE OF COUNSEL GREGORY C. SCHODDE; NOTICE OF
APPEARANCE OF COUNSEL RAJENDRA A, CHIPLUNKAR and NOTICE
OF APPEARANCE OF COUNSEL CHRISTIAN H. HALLERUD ‘was made.
After knocking on the door and seeing no one at the reception desk, I called one of

the numbers to the Department of Transportation. After explaining I was attempting
to deliver the documents, I was told “that office is not an open office and the
documents would have to be mailed. The documerits were mailed via Certified Mail
with a Registered Return, Receipt (*Tracking Number 9589 0710 5270 1508 0480
89) with an expected delivery of June 3, 2025.

Date of Service: 05/29/2025 Under the pains and penalties of perjury,

‘ Derri€kdHughes, Gonstable
Hughes & Associates
PO Box 256109
Dorchester, MA 02125
857-312-979: (Cell)
const.dhughes @ gmail.com
Facebook: Hughes & Associates
Member of NAPPS{National Association
of Professional Process Servers)
Member of Boston Gonstabie
Association

Date of Signature: 05/31/2025

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@ Complete items 1, 2, and 3.

@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

ignature ;
X Neste inc
ph Peek, 1 Addressee

B. Received-by (Printed Name) C. Date of Delivery

Wo 6-¥=25

1. Article Addressed to:

Wie s6

On, mA O20 1a

UUUDAT A ACT A

9590 9402 8203 3030 2150 54

D. Is delivery address different from item 1? C1 Yes
If YES, enter delivery address below: C1 No

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3. Service Type 0 Priority Mail Express®

0 Adult Signature O Registered Mail™
O Adult Signature Restricted Delivery C Registered Mail Restricted
O Certified Mail® Delivery

1 Signature Confirmation™
1 Signature Confirmation

= Certified Mail Restricted Delivery
O Collect on Delivery

2. Article Number (Transfer from service label)

O Collect on Delivery Restricted Delivery Restricted Delivery

O Insured Mail

|G Insured Mail Restricted Delivery

(over $500)

PS Form 3811. July 2020 PSN 7530-02-000-9053

Domestic Return Receipt |
